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                                                                                                      E-FILED
                                                                           Thursday, 12 July, 2018 02:36:35 PM
                                                                                 Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS, PEORIA DIVISION

STEVEN D. LISLE, JR.,

                       Plaintiff,
                                                      No. 17-cv-01158 - CSB
v.
                                                      Colin Stirling Bruce
BALDWIN, ET AL

                       Defendants.

     ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES

        NOW COMES the Defendant, BROOK THOMAS, by her attorneys, CASSIDAY

SCHADE LLP, and pursuant to Local Rule 16.3(E)(2) and the Court’s May 19, 2017 Order,

hereby submits her Answer and Affirmative Defenses to Plaintiff’s Complaint, stating as

follows:

        1.     Defendant admits she was employed as the Mental Health Unit Director at

Pontiac Correctional Center from July 11, 2015 until May 20, 2017.

        2.     Defendant admits jurisdiction and venue are proper in the Central District of

Illinois.

        3.     Defendant denies any act or omission on her part constitutes deliberate

indifference to a serious mental health need.

        4.     Defendant denies any response she may or may not have made to any request of

the Plaintiff constituted deliberate indifference to a serious mental health need.

        5.     Defendant denies Plaintiff was injured by any act, omission, or delay allegedly

caused by Defendant.

        6.     Defendant denies that Plaintiff is entitled to any relief whatsoever.

        7.     Defendant denies that Plaintiff's claims are meritorious.
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DEFENDANT DEMANDS TRIAL BY JURY

                                      AFFIRMATIVE DEFENSES

        1.       At all times relevant herein, Defendant acted in good faith in the performance of

her official duties and without violating Plaintiff's clearly established statutory or constitutional

rights of which a reasonable person would have known. Defendant is therefore protected from

suit by the doctrine of qualified immunity.1

        2.       At all times relevant herein, Defendant acted in good faith and in conformity with

existing precedent. She is therefore entitled to good faith immunity from damages. Wyatt v.

Cole, 504 U.S. 158, 169 (1992).

        3.       To the extent Plaintiff has failed to exhaust his administrative remedies prior to

initiating bringing this action, his claims are barred by Section 1997e(a) of the Prison Litigation

Reform Act.

        4.       To the extent Plaintiff’s claims for relief accrued more than two years prior to

initiation of this case, they are barred by the applicable statute of limitations.

        5.       At all times relevant herein, Defendant’s duties were limited to those that were

delegated to her by their employer and that her employer voluntarily undertook pursuant to its

contract with the Illinois Department of Corrections.

DEFENDANT DEMANDS TRIAL BY JURY AS TO HER AFFIRMATIVE DEFENSES

        WHEREFORE, for the above reasons, Defendant respectfully requests this Honorable

Court deny Plaintiff any relief in this matter and grant Defendant judgment as to all matters and

any other relief deemed appropriate, including cost of suit.



1
  Defendant acknowledges in Estate of Clark v. Walker, 865 F.3d 544, 550-51 (7th Cir. 2017), the Seventh Circuit
rejected qualified immunity for contractual government employees. Defendant asserts this defense to preserve it for
appeal.


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                                        Respectfully submitted,

                                        CASSIDAY SCHADE LLP

                                        By: /s/ Brent J. Colbert
                                            Attorneys for Defendant, BROOK THOMAS

Brent J. Colbert
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on July 12, 2018, I electronically filed the foregoing Answer to

Plaintiff’s Complaint with Affirmative Defenses with the Clerk of the Court using the CM/ECF

system. The electronic case filing system sent a “Notice of E-Filing” to the following:

Remy Taborga
Assistant Attorney General
1776 E. Washington Street
Urbana, IL 61802

          and I hereby certify that a true and correct copy of the foregoing Answer to Plaintiff’s

Complaint with Affirmative Defenses was served via regular mail to the following non-CM-ECF

participant at the following address by depositing the same in the U.S. mail located in

Springfield, Illinois, with proper postage prepaid, on July 12, 2018. Under penalties as provided

by law pursuant to 735 ILCS 5/1-109, I certify that the statements set forth herein are true and

correct:

Steven D. Lisle, Jr.
R40159
Pontiac Correctional Center
Inmate Mail/Parcels
Po Box 99
Pontiac, IL 61764

                                                             /s/ Brent J. Colbert
8892691




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